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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE


         In re:                                                        Chapter 11

         WOODBRIDGE GROUP OF COMPANIES,                                Case No. 17-12560 (KJC)
         LLC, et al.,1
                                                                       Jointly Administered
                               Debtors.


                             NOTICE OF AGENDA OF MATTERS SCHEDULED
                          FOR HEARING ON FEBRUARY 1, 2018, AT 11:00 A.M. (ET)

         MATTER GOING FORWARD

         1.       Motion of Crest Steel Corp. for Limited Relief from the Automatic Stay [Docket No.
                  429, 1/26/18]

                  Objection Deadline: At the hearing.

                  Related Documents:

                          A.       Order Shortening Notice [Docket No. 433, 1/26/18]

                          B.       Notice of Motion [Docket No. 434, 1/26/18]

                          C.       Amended Notice of Motion [Docket No. 437, 1/29/18]

                  Objections/Responses Received:

                          A.       Informal response of the Debtors

                          B.       Informal response of the Ad Hoc Unitholders Group

                          C.       Informal response of Hankey Capital, LLC




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                  The last four digits of Woodbridge Group of Companies, LLC’s federal tax identification number are 3603.
         The mailing address for Woodbridge Group of Companies, LLC is 14225 Ventura Boulevard #100, Sherman Oaks,
         California 91423. Due to the large number of debtors in these cases, which are being jointly administered for
         procedural purposes only, a complete list of the Debtors, the last four digits of their federal tax identification
         numbers, and their addresses are not provided herein. A complete list of such information may be obtained on the
         website of the Debtors’ noticing and claims agent at www.gardencitygroup.com/cases/WGC, or by contacting the
         undersigned counsel for the Debtors.

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                  Status: Crest Steel anticipates resolving the informal responses received prior to the
                          hearing by making certain revisions to the proposed order included with the
                          motion. In light of the objection deadline, this matter will be going forward.


         Dated:     Wilmington, Delaware
                    January 30, 2018              /s/ Ian J. Bambrick
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                                                  -and-

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                                                  -and-

                                                  J. Eric Wise (NY No. 3000957)
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                                                  Counsel to the Debtors and Debtors in Possession




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